                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                             DOCKET NO. 3:08CR134-RJC

UNITED STATES OF AMERICA                          )
                                                  )
                   v.                             )                       ORDER
                                                  )
ALEJANDRO ENRIQUE RAMIREZ                         )
UMANA,                                            )
     a/k/a “Wizard”     )
           “Lobo”                    )
                                     )
                  Defendant.         )
_____________________________________)

        THIS MATTER is before the Court on the “Defendant’s Motion for Bill of Particulars with

Respect to Notice of Intent to Seek the Death Penalty” (Doc. No. 486) filed April 24, 2009; its

Memorandum in support (Doc. No. 487) filed the same day; and the government’s Response (Doc. No.

503) filed May 8, 2009. The Magistrate Judge issued an Order denying the defendant’s Motion (Doc. No.

510) on May 13, 2009, to which the defendant filed a Motion to Reconsider (Doc. No. 547) on June 9,

2009, later amended to an Objection (Doc. No. 551) on June 16, 2009. For the reasons stated below,

the Court AFFIRMS the Magistrate Judge’s Order denying the defendant’s Motion for a Bill of

Particulars.

I.      BACKGROUND

        The defendant is charged in a Superseding Indictment with the multiple federal offenses arising out

of his alleged affiliation with La Mara Salvatrucha, also known as the MS-13 gang (hereafter “MS-13").

Count 1 of the Indictment charges the defendant with conspiring to conduct and participate in the affairs



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of MS-13 through a pattern of racketeering activity, in violation of 18 U.S.C. § 1962(d). As an overt act

in furtherance of this conspiracy, the Indictment alleges that on December 8, 2007, the defendant murdered

two individuals, Ruben Garcia Salinas and Manuel Garcia Salinas, in a restaurant in Greensboro, North

Carolina. These murders are also charged separately in Counts 22 and 24 of the Indictment as murder in

aid of racketeering, in violation of 18 U.S.C. § 1959(a)(1), and in Counts 23 and 25 as use of a firearm

during and in relation to a crime of violence resulting in death, in violation of 18 U.S.C. § 924(j). In the

event the defendant is found guilty of Counts 22, 23, 24, or 25, the government has filed a Notice of

Intention to Seek the Death Penalty (Doc. No. 275), which is required by the Federal Death Penalty Act

(“FDPA”), 18 U.S.C. § 3591 et seq. Among others, the government gave notice of its intent to prove the

following non-statutory aggravating factor under 18 U.S.C. § 3593(a)(2):

        4.      Participation in Additional Uncharged Murders and Other Acts of Violence.

        Apart from the offenses charged in the First Superseding Bill of Indictment, defendant has
        been involved in other serious acts of violence, which are not reflected in his criminal
        record. Including but not limited to:

               a.       On or about July 27, 2005, in Los Angeles, California, defendant
        knowingly, intentionally, and unlawfully killed Jose Herrera and Gustavo Porras.

                 b.     On or about September 28, 2005, in Los Angeles, California,
        defendant knowingly, intentionally, and unlawfully participated and aided and abetted the
        killing of Andy Abarca.

(Doc. No. 275 at 4). On April 24, 2009, the Defendant filed a Motion for Bill of Particulars with respect

to several non-statutory aggravating factors, including a request that the government supply the time, date,

and location of other serious acts of violence not reflected in the defendant’s criminal record or described

in Subparagraphs 4(a) and 4(b). (Doc. No. 486 at 2). On May 13, 2009,the Magistrate Judge denied the



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defendant’s motion, finding that the Notice filed by the Government satisfied statutory notice requirements

and due process. (Doc. No. 510: Order at 4-5).

         On June 6, 2009, the defendant filed a Motion to Reconsider, urging the Magistrate Judge to

reconsider only the portion of his Order denying the defendant’s request for a Bill of Particulars with

respect to the non-statutory aggravating factor concerning other acts of violence not reflected in his criminal

history. (Doc. No. 547 at 2). Later, on June 16, 2009, the defendant filed a Motion to Amend (Doc. No.

551), seeking to modify the Motion to Reconsider to an Objection before this Court to the Magistrate

Judge’s Order.

II.      STANDARD OF REVIEW

         Federal Rule of Criminal Procedure 59(a) allows a district judge to refer to a magistrate judge for

determination any matter that does not dispose of a charge or defense. A Motion for a Bill of Particulars

is a nondispositive matter because no charge or defense is subject to termination with its resolution. When

a party objects to a magistrate judge’s order on a nondispositive matter, a district judge must determine

whether the order is contrary to law or clearly erroneous. Fed. R. Crim. P. 59(a). However, a party must

“serve and file objections to the order within 14 days after being served with a copy of a written order or

after the oral order is stated on the record, or at some other time the court sets.” Id.

III.     DISCUSSION

         The defendant filed his Motion to Reconsider 23 calendar days after the Magistrate Judge issued

the Order denying his Motion for a Bill of Particulars. See Fed. R. Crim. P. 45(a)(1) (computing deadlines

for periods stated in days). The Court has not modified the 14-day deadline for filing objections under Rule

59 in this case. Therefore, construing the defendant’s Motion to Reconsider as an Objection to the

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Magistrate Judge’s Order, the pleading is untimely.

        A party who fails to file an objection by the deadline set by Rule 59(a) is deemed to have waived

that objection unless the party can show good cause for the failure. Fed. R. Crim. P. 12(e). “Relief from

the waiver of an objection is appropriate only if the moving party demonstrates cause for the failure to

object and actual prejudice resulting from the defect.” United States v. Colton, 231 F.3d 890, 909 (4th

Cir. 2000) (citing Wainwright v. Sykes, 433 U.S. 72, 84 (1977)). Here, the defendant’s counsel states as

cause his misapprehension of Rule 59(a)’s applicability to the Magistrate Judge’s Order denying the

defendant’s Motion for a Bill of Particulars. (Doc. No. 551 at 2). Rule 59(a), however, is clear in its

applicability to nondispositive orders and its 14-day filing deadline. Finding no cause to excuse the

defendant’s untimely objection, the Court need not consider whether there is actualprejudice resulting from

the defect. The defendant’s Objection is therefore waived as untimely.

        Even if it were to reach the merits of the defendant’s Objection, the Court would not find the

Magistrate Judge’s Order contrary to law or clearly erroneous. Fed. R. Crim. P. 59(a). “The FDPA and

the Constitution require that the defendant receive adequate notice of the aggravating factor, . . . not notice

of the specific evidence that will be used to support it.” United States v. Higgs, 353 F.3d 281, 325 (4th

Cir. 2003). Here, the defendant has received notice that the government intends to prove other acts of

violence not reflected in his criminal history. Moreover, the government has included specific allegations

regarding two uncharged murders, which would likely serve as the government’s most compelling evidence

under this factor. This is sufficient to meet notice requirements under 18 U.S.C. § 3593(a)(2) and due

process. The mere fact that the government has expressly declined to limit its proof under this factor to the

uncharged murders does not render its Notice ineffective or unconstitutionally vague. See United States

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v. Cisneros, 363 F. Supp. 2d 827, 837 (E.D.Va. 2005) (rejecting a constitutional challenge to notice of

non-statutory aggravating conduct “including, but not limited to” specific acts). Thus, even if it were to reach

the merits of the defendant’s Objection, the Court would not find the Magistrate Judge’s Order contrary

to law or clearly erroneous.

IV.     CONCLUSION

        IT IS, THEREFORE, ORDERED that the Magistrate Judge’s Order (Doc. No. 510) denying

the defendant’s Motion for a Bill of Particulars (Doc. No. 486) is AFFIRMED.



                                                       Signed: March 18, 2010




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